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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 23-cv-01607-CNS-STV

  ESTATE OF ABBY ANGELO, et al.,

         Plaintiffs,

  v.

  BOARD OF COUNTY COMMISSIONERS OF JEFFERSON COUNTY, et al.

         Defendants.


                             MOTION TO RESTRICT DOCUMENT


         The Board of County Commissioners of Jefferson County and Jefferson County Sheriff

  Reggie Marinelli (the “Board” and “Sheriff,” respectively; collectively, the “JeffCo Defendants”),

  by and through the Jefferson County Attorney, Assistant County Attorney Rebecca Klymkowsky,

  and Assistant County Attorney Levi Stubbs respectfully move this Court to restrict Exhibit A [ECF

  55] to Jefferson County Defendants’ Motion to Dismiss [ECF 54], JeffCo Defendants request a

  “Level 1” restriction which “limits access to the parties and the court” only based on the Court’s

  Protective Order [ECF 33].

         Respectfully submitted this 13th day of September, 2023.

                                               JEFFERSON COUNTY ATTORNEY’S OFFICE


                                               By: /s/ Rebecca Klymkowsky
                                               Rebecca Klymkowsky, #41673
                                               Assistant Deputy County Attorney
                                               Levi Stubbs, #50262
                                               Assistant County Attorney


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                                            100 Jefferson County Parkway, Suite 5500
                                            Golden, Colorado 80419
                                            Telephone: 303.271.8932
                                            Facsimile: 303.271.8901
                                            rklymkow@jeffco.us
                                            Attorney for Sergeant Mark Snowden




                              CERTIFICATE OF SERVICE

         I hereby certify that on September 13, 2023, I filed the foregoing MOTION TO
  RESTRICT DOCUMENT via CM/ECF, which will serve a true and correct copy upon the
  following:

  Felipe Bohnet-Gomez | fbg@rmlawyers.com
  Virginia Hill Butler | vb@rmlawyers.com
  Matthew Cron | mc@rmlawyers.com
  Siddhartha H. Rathod | sr@rmlawyers.com
  RATHOD MOHAMEDBHAI, LLC
  Attorneys for Plaintiffs

  Daniel P. Struck | dstruck@strucklove.com
  Ashlee B. Hesman | ahesman@strucklove.com
  Kristina R. Rood | krood@strucklove.com
  STRUCK LOVE BAJANSKI & ACEDO, PLC
  Attorneys for Wellpath LLC Defendants

                                                  /s/ Heather A. Hayward
                                                  Heather A. Hayward, Paralegal




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